Filed 12/05/18                                                                          Case 17-13797                                                        Doc 917



                                                1 2 PAGES
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                                            Wells Fargo Vendor Financial Services, LLC
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                                                                               UNITED STATES BANKRUPTCY COURT
                                         13
                                                                                EASTERN DISTRICT OF CALIFORNIA
                                         14
                                                                                             FRESNO DIVISION
                                         15
                                                                                                             Case No. 17-13797-B-9
                                         16
                                                                                                             Chapter 9
                                         17
                                                   In re                                                     DC No: BPC-001
                                         18
                                                   TULARE LOCAL HEALTHCARE DISTRICT
                                         19        dba TULARE REGIONAL MEDICAL                               NOTICE OF WITHDRAWAL OF
                                                   CENTER,                                                   MOTION FOR ORDER
                                         20                                                                  (A) COMPELLING ASSUMPTION OR
                                                                   Debtor.                                   REJECTION OF EQUIPMENT LEASES;
                                         21                                                                  AND (B) DIRECTING PAYMENT OF
                                                                                                             POST-PETITION ADMINISTRATIVE
                                         22                                                                  RENT OR, ALTERNATIVELY, (C)
                                                                                                             TERMINATING THE AUTOMATIC
                                         23                                                                  STAY

                                         24                                                                  Date:         December 20, 2018
                                                                                                             Time:         9:30 a.m.
                                         25                                                                  Dept:         B
                                                                                                             Place:        Courtroom 13, 5th Floor
                                         26                                                                                2500 Tulare Street
                                                                                                                           Fresno, CA 93721
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                                         28
           BUCHALTER                               BN 34860617v1                                        1
 A P R O F E S S I ON A L C OR P OR A T I O N
            S A N F R AN C I S C O                  NOTICE OF WITHDRAWAL OF MOTION FOR ORDER (A) COMPELLING ASSUMPTION OR REJECTION OF EQUIPMENT LEASES; AND (B)
                                                    DIRECTING PAYMENT OF POST-PETITION ADMINISTRATIVE RENT OR, ALTERNATIVELY, (C) TERMINATING THE AUTOMATIC STAY
Filed 12/05/18                                                                           Case 17-13797                                                        Doc 917



                                                1           TO THE HONORABLE RENÈ LASTRETO II, UNITED STATES BANKRUPTCY
                                                2 JUDGE; DEBTOR TULARE LOCAL HEALTHCARE DISTRICT, ITS COUNSEL OF
                                                3 RECORD, THE OFFICE OF THE UNITED STATES TRUSTEE; AND ALL
                                                4 INTERESTED PARTIES:
                                                5           PLEASE TAKE NOTICE that Wells Fargo Vendor Financial Services, LLC
                                                6 (“WFVFS”) hereby withdraws its Motion for an Order (A) Compelling Assumption or Rejection
                                                7 of Equipment Leases and (B) Directing Payment of Post-Petition Rent or, Alternatively, (C)
                                                8 Terminating the Automatic Stay (the “Motion”) filed with the Court and assigned Docket Control
                                                9 No. BPC-1.
                                         10                 PLEASE ALSO TAKE FURTHER NOTICE that WFVFS respectfully requests that
                                         11 the Court vacate the continued hearing on the Motion, currently set for December 20, 2018, at
                                         12 9:30 a.m.
                                         13 DATED: December 5, 2018                                   BUCHALTER
                                                                                                      A Professional Corporation
                                         14
                                         15
                                                                                                      By: /s/ Jeannie Kim
                                         16                                                                            JEANNIE KIM
                                                                                                                    Attorneys for Movant
                                         17                                                                Wells Fargo Vendor Financial Services,
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           BUCHALTER                                BN 34860617v1                                        2
 A P R O F E S S I ON A L C OR P OR A T I O N
            S A N F R AN C I S C O                   NOTICE OF WITHDRAWAL OF MOTION FOR ORDER (A) COMPELLING ASSUMPTION OR REJECTION OF EQUIPMENT LEASES; AND (B)
                                                     DIRECTING PAYMENT OF POST-PETITION ADMINISTRATIVE RENT OR, ALTERNATIVELY, (C) TERMINATING THE AUTOMATIC STAY
